
MEMORANDUM **
Chapter 13 debtor Estrella Kincaid appeals pro se from the Bankruptcy Appellate Panel’s order denying her motion for a writ of mandamus. We have jurisdiction under 28 U.S.C. § 158(d). We review for abuse of discretion, Vizcaino v. United States Dist. Ct. for the Western Dist. of Wash., 173 F.3d 713, 719 (9th Cir.1999), and we affirm.
The Bankruptcy Appellate Panel did not abuse its discretion in concluding that an extraordinary writ was inappropriate where, as here, direct appeal of the bankruptcy court’s decision was available. See DeGeorge v. United States Dist. Ct. for the Central Dist. of Calif, 219 F.3d 930, 934-35 (9th Cir.2000).
AFFIRMED.

 This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir. R. 36-3.

